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                                                                                                                        Sexual Minority Students in Non-Affirming Religious Higher Education:
                                                                                                                                         Mental Health, Outness, and Identity

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                                                                                                                                                    Sexual minority (SM) students are vulnerable to increased rates of psychological distress and harassment
                                                                                                                                                    as a result of stigma and other forms of marginalization in the college environment. However, little
                                                                                                                                                    research has been conducted on the experiences and psychological functioning among SMs who attend
                                                                                                                                                    nonaffirming religiously affiliated universities (NARAUs) that enforce restrictive admission and conduct
                                                                                                                                                    policies toward SM students, and/or view same-sex romantic expressions and identities as sinful. SM
                                                                                                                                                    students (N ⫽ 213) attending NARAUs completed the Counseling Center Assessment of Psychological
                                                                                                                                                    Symptoms (CCAPS), the Outness Inventory (OI), and the Lesbian, Gay and Bisexual Identity Scale
                                                                                                                                                    (LGBIS). Results indicate that SM students who attend Mormon, Evangelical, and Nondenominational
                                                                                                                                                    Christian NARAUs had more difficultly coming to terms with their sexual orientation than those in
                                                                                                                                                    Catholic or Mainline Protestant schools. Furthermore, Mormon students reported significantly more
                                                                                                                                                    incongruence between their sexual orientation and religious beliefs than other religious groups. Students
                                                                                                                                                    who were involved with a Gay–Straight Alliance (GSA) had significantly less difficultly with their sexual
                                                                                                                                                    orientation, less negative identities, and less religious incongruence than those students not involved with
                                                                                                                                                    a GSA. More than 1 third (37%) reported being bullied or harassed at school because of their sexual
                                                                                                                                                    orientation. Almost 1 in 5 (17%) reported a mental health professional had attempted to change their
                                                                                                                                                    sexual orientation. Implications and recommendations for NARAU campus communities and counseling
                                                                                                                                                    centers are discussed.

                                                                                                                                                    Keywords: gay, higher education, lesbian, religion, sexual minority




                                                                                                                        Sexual minorities1 (SM; a term that encompasses lesbian, gay,                         lack of inclusion of LGBQ topics in curriculum, insufficient sup-
                                                                                                                     bisexual, and queer/questioning [LGBQ] persons) can encounter                            port services, and poor overall campus climate (Meyer, Oullette,
                                                                                                                     unique challenges in the college environment, including verbal and                       Haile, & McFarlane, 2011; Swim, Pearson, & Johnston, 2007;
                                                                                                                     sexual harassment, threats, and physical assaults (Rankin, Weber,                        Woodford, Han, Craig, Lim, & Matney, 2014). Students who have
                                                                                                                     Blumenfeld, & Frazer, 2010). More subtle forms of marginaliza-                           multiple minority identities (e.g., a Black lesbian female) report
                                                                                                                     tion are often overlooked, including anti-LGBQ jokes or slurs,                           even higher rates of victimization and marginalization than both
                                                                                                                     incivility and social rejection, limited access to SM role models,                       SM and non-SM students (Rankin, 2005; Rankin et al., 2010).
                                                                                                                                                                                                                 SM students who feel marginalized on their campuses are more
                                                                                                                                                                                                              likely to conceal their identity to avoid harassment, intimidation,
                                                                                                                                                                                                              and/or being identified as a SM (Pachankis & Goldfried, 2006;
                                                                                                                        This article was published Online First February 22, 2016.                            Rankin, 2005). Concealment, harassment, and stigma are associ-
                                                                                                                        Joshua R. Wolff, Department of Psychology, Adler University; Heather                  ated with feeling of isolation, emotional distress, cognitive preoc-
                                                                                                                     L. Himes, Independent Practice, New York, New York; Sabrina D. Soares,                   cupation, negative self-esteem, disengagement from academic re-
                                                                                                                     Department of Psychology, Rhode Island College; Ellen Miller Kwon,                       sponsibilities, and lower GPA among SM college students
                                                                                                                     Independent Practice, Pasadena, California.                                              (Pachankis, 2007; Smart & Wegner, 1999; Woodford & Kulick,
                                                                                                                        The authors are grateful to the participants and individuals who helped               2015). Further, SM students are more likely to seek college coun-
                                                                                                                     advertise this study. We thank Janet Peters, Jennifer Losardo, and Ashley                seling services, and report significantly higher amounts of depres-
                                                                                                                     Fish for their help with study development, recruitment and advertising.                 sive symptoms, social anxiety, and eating concerns than their
                                                                                                                     We thank Maryka Biaggio for thoughtful comments on the preliminary
                                                                                                                                                                                                              heterosexual peers, particularly among SMs who are questioning
                                                                                                                     phases of study development, and Lyuba Bobova for statistical consulta-
                                                                                                                     tion. We gratefully acknowledge the Rhode Island College Alumni Asso-
                                                                                                                     ciation and the Rhode Island College Association for grant funding of this                  1
                                                                                                                                                                                                                   We did not include gender minorities (e.g., transgender, genderqueer
                                                                                                                     project.                                                                                 persons) in most of this article because a majority of the studies reviewed
                                                                                                                        Correspondence concerning this article should be addressed to Joshua R.               and measures used (see Method section) were only standardized on sexual
                                                                                                                     Wolff, Adler University, 17 North Dearborn Street, Chicago, IL 60602.                    minority populations. Data on gender minority students were collected in
                                                                                                                     E-mail: jwolff@adler.edu                                                                 a separate follow-up study.

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                                                                                                                     their sexual orientation (Center for Collegiate Mental Health           to others who share similar values, and a general sense of love,
                                                                                                                     [CCMH], 2015a; Effrig, Maloch, McAleavey, Locke, & Bieschke,            hope, grace, forgiveness, support, encouragement, strength, and
                                                                                                                     2014; Maloch, Bieschke, McAleavey, & Locke, 2013; McAleavey,            acceptance (Yarhouse et al., 2009). Additionally, those who expe-
                                                                                                                     Castonguay, & Locke, 2011; Woodford et al., 2014). Given these          rience dissonance with their sexual orientation may also see reli-
                                                                                                                     disparities, it is unsurprising that past data indicate that SM stu-    gion as a means of healing or correcting perceived sinful identities
                                                                                                                     dents are up to 2.6 times more likely to attempt suicide than           and/or sexual/romantic attractions (Yarhouse et al., 2009). Despite
                                                                                                                     heterosexual peers (Kisch, Leino, & Silverman, 2005). Recent data       the potential benefits of religious involvement for SM individuals,
                                                                                                                     suggest that perceived burdensomeness of sexual orientation may         significantly fewer LGB adults identify as religious when com-
                                                                                                                     be a factor that mediates this increased risk among cisgender SM        pared to heterosexual adults (Pew Research Center, 2015a).
                                                                                                                     individuals (Silva, Chu, Monahan, & Joiner, 2015).                         Evidence remains mixed as to whether benefits associated
                                                                                                                        These challenges may influence SM students in disproportional        with religion exist for SM individuals (Rodriguez, 2009; Rosa-
                                                                                                                     ways than heterosexual peers, even at college campuses that pro-        rio, Yali, Hunter, & Gwadz, 2006). To examine the ecological
                                                                                                                     mote inclusive and LGBQ-affirming environments (Rankin et al.,          impact of religion on LGB youth, Hatzenbuehler, Pachankis,
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                                                                                                                     2010; Woodford et al., 2014). However, many unanswered ques-            and Wolff (2012) conducted a population-based study of LGB
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                                                                                                                     tions remain about campus environments that are explicitly non-         youth in Oregon to assess whether denominational positions on
                                                                                                                     affirming or rejecting toward SM students. In particular, almost no     homosexuality and gay rights were predictive of alcohol abuse
                                                                                                                     data exist on the experiences of SM students who attend nonaf-          and sexually transmitted infection (STI) risks (assessed via
                                                                                                                     firming religiously affiliated universities (NARAUs). Affirming         number of sexual partners). The authors found that LGB youth
                                                                                                                     describes religious communities and beliefs that fully welcome          living in counties that had higher concentrations of nonaffirm-
                                                                                                                     SM individuals to all levels of participation (e.g., church member-     ing faith communities had increased rates of alcohol abuse and
                                                                                                                     ship) and view nonheterosexual identities and relationships as          more sexual partners than LGB youth who lived in counties
                                                                                                                     normative (Barnes & Meyer, 2012; Lee, 2012). In contrast, non-          with more affirming faith communities. The results remained
                                                                                                                     affirming religious perspectives and communities maintain that          significant even when controlling for other community factors
                                                                                                                     only heteronormative roles and relationships are morally accept-        (e.g., number of gay-straight-alliances in school) and were
                                                                                                                     able. As such, the majority of same-sex romantic behaviors and          stronger among LGB youth when compared with a heterosexual
                                                                                                                     gender nonconforming expressions are viewed as sinful and/or            control group. Among LGB adults, Meyer, Teylan, and
                                                                                                                     psychologically disordered (Barnes & Meyer, 2012; Lee, 2012).           Schwartz (2015) found that seeking treatment from a religious
                                                                                                                     These faith communities often do not allow SM persons to become         or spiritual advisor was associated with increased odds of
                                                                                                                     members, hold positions of leadership or employment, or partici-        attempting suicide, even when controlling for previous mental
                                                                                                                     pate in sacred traditions (e.g., communion; Hatzenbuehler,              health diagnoses and multiple suicide attempts. Furthermore,
                                                                                                                     Pachankis, & Wolff, 2012). As a result, the purpose of this study       individuals who experience dissonance between their religious
                                                                                                                     is to examine the experiences, psychological functioning, sexual        beliefs and sexual orientation are often inclined to seek out
                                                                                                                     identity, and overall outness of SM students who attend NARAUs.         sexual orientation change efforts (SOCE), such as reparative
                                                                                                                                                                                             (“reorientation”) therapies (Bradshaw, Dehlin, Crowell, Galli-
                                                                                                                                                                                             her, & Bradshaw, 2015; Jones & Yarhouse, 2011). Thus, seek-
                                                                                                                         Religion and Spirituality Among SM Individuals
                                                                                                                                                                                             ing help from a religious resource may worsen health outcomes
                                                                                                                        Religion and spirituality play an important role in identity         for many SMs.
                                                                                                                     development and disclosure among SMs. In a sample of strongly              A likely moderator that could explain the discrepancies found in
                                                                                                                     religious Christian SM students at three religiously affiliated Evan-   the data could be whether faith communities are affirming or
                                                                                                                     gelical universities, participants reported both positive and nega-     nonaffirming. Nonaffirming views are largely (though not always)
                                                                                                                     tive experiences following initial awareness of same-sex attraction     consistent with official doctrine of faith communities that most
                                                                                                                     including shame, guilt, fear about their families reaction, or being    Americans belong to: Evangelical Protestants (25.4% of all Amer-
                                                                                                                     part of “[God’s] diverse Kingdom” (Yarhouse, Stratton, Dean, &          icans), Catholics (20.8%), Mainline Protestants (14.7%), Jews
                                                                                                                     Brooke, 2009, p. 100). Only a small proportion had disclosed their      (1.9%), and Mormon/LDS (1.6%; Pew Research Center, 2015a).
                                                                                                                     sexual identities to family members, a youth pastor, or a teacher,      Past studies are helpful to distinguish group differences, noting
                                                                                                                     yet more than half had disclosed to a friend. Furthermore, only         that Protestants and Catholic LGB adults report more conflict
                                                                                                                     14% of the SM sample identified as “gay,” and those who did not         about their sexual orientation than those who are Jewish, atheist, or
                                                                                                                     identify as gay reported greater confusion about their sexual iden-     agnostic (Schuck & Liddle, 2001). A potentially important nuance
                                                                                                                     tity. Other findings suggest that greater involvement in nonaffirm-     is that some faiths and religious individuals emphasize same-sex
                                                                                                                     ing religious communities is associated with higher internalized        behavior as sinful as opposed to sexual orientation or attraction
                                                                                                                     homophobia—the extent that a person absorbs negative social and         alone (Rosik, Griffith, & Cruz, 2007). Of note, many SM individ-
                                                                                                                     community sentiments toward LGB persons—among SMs (Barnes               uals who perceive rejection from nonaffirming religious commu-
                                                                                                                     & Meyer, 2012).                                                         nities often leave their religious faith entirely, become spiritual but
                                                                                                                        Religion and religious community involvement can be impor-           no longer religious, or reinterpret religious teaching and their own
                                                                                                                     tant sources of social and emotional support that can be associated     personal theology (Schuck & Liddle, 2001). Further, attending a
                                                                                                                     with positive health benefits and decreased psychiatric morbidity       nonaffirming church is associated with symptoms of anxiety in
                                                                                                                     (Galek, Flannelly, Ellison, Silton, & Jankowski, 2015; Hamblin &        lesbian and gay adults (Hamblin & Gross, 2013). Nonaffirming
                                                                                                                     Gross, 2014). Other benefits can include a sense of connection          communities may also contribute to the perception that one must
                                                                                                                     with a higher power to help resolve identity concerns, connection       be less open about their sexual orientation. In a study of Mormon




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                                                                                                                     adults who experienced same-sex attraction, participants who felt       on-campus restrictions/limitations of privileges, suspension, and
                                                                                                                     stigmatized by the Church of Jesus Christ of Latter-day Saints          dismissal/expulsion. Further, a flurry of recent media reports show
                                                                                                                     (LDS) reported greater concealment of their sexual orientation,         that many NARAUs deny the use of campus space to LGBQ
                                                                                                                     which was positively associated with symptoms of anxiety and            affirming student organizations or clubs, maintain hostile class-
                                                                                                                     depression (Grigoriou, 2014).                                           room and campus environments for SM students, and endorse
                                                                                                                                                                                             SOCE (Eckholm, 2011; Hinch, 2013; Jaschik, 2013; Sieczkowski,
                                                                                                                      SM Student Experiences in Non-Affirming Religious                      2014). A qualitative study at a Roman Catholic university provided
                                                                                                                                                                                             concrete examples of hostilities and harassment on campus, noting
                                                                                                                                     Higher Education
                                                                                                                                                                                             that SM students received death threats, saw hate speech (e.g.,
                                                                                                                        NARAUs include colleges, universities, and seminaries that           “God Hates Fags”) written on dorm room doors and bathrooms,
                                                                                                                     have a rich and important history of providing students with liberal    and encountered other difficulties (Getz & Kirkley, 2006). A
                                                                                                                     arts education while also nurturing faith and spiritual development     recent study at a Roman Catholic college in the Northeast found
                                                                                                                     through theological integration, community worship, and a range         that half of SM and gender minority undergraduate students re-
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                                                                                                                     of other religious activities on campus. Though lacking in recent       ported being harassed or bullied on campus, and that up to 16%
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                                                                                                                     data, previous estimates indicate that there are over 200 NARAUs        experienced violence (Lockhart, 2013). However, students rarely
                                                                                                                     in the United States that actively bar admission of openly SM           report these incidents because of fears of not being taken seriously
                                                                                                                     students, maintain behavioral codes that prohibit same-sex roman-       and/or treated with disrespect, having to out themselves in an
                                                                                                                     tic expression, and/or limit and prohibit student organizations that    unsupportive environment, and the perception that reporting will
                                                                                                                     affirm SM identities (Soulforce, 2008). Many NARAU’s do not             only make the situation worse (Lockhart). A majority of these
                                                                                                                     hold behavioral policies on campus, yet adhere to teachings that        students reported that they regretted coming out while attending
                                                                                                                     reject SM identities or relationships (e.g., marriage should only be    that college and made considerable effort to conceal their sexual or
                                                                                                                     between one man and one woman). Among religious institutions            gender identity on campus.
                                                                                                                     and communities, there is a wide range of beliefs and practices            Such policies and campus climates create potential difficulties
                                                                                                                     regarding gender and sexuality issues. Further, many faith-leaders      for students wishing to form LGBQ-affirming spaces. McEntarfer
                                                                                                                     and individuals have called for greater compassion and grace            (2011) examined the approaches used and subsequent experiences
                                                                                                                     toward members of the SM community (e.g., Donadio, 2013) or             of SM students attempting to create an affirming student group
                                                                                                                     advocated for civil rights such as legalization of same-sex mar-        (e.g., Gay-Straight Alliance) at three NARAUs, and found four
                                                                                                                     riage (Jones, 2015), though such remarks are not always synony-         major strategies used: (a) collaborative (i.e., finding common
                                                                                                                     mous with full affirmation of SM identities or relationships.           ground with school administrators); (b) conciliatory (i.e., accepting
                                                                                                                        To understand sexual identity and developmental milestones of        restrictions of what can be done); (c) assertive (e.g., public, non-
                                                                                                                     SM students who attend NARAUs, Stratton, Dean, Yarhouse, and            violent protests and rejection of campus policies); and (d) under-
                                                                                                                     Lastoria (2013) sampled 247 SM students from 19 NARAUs. The             ground/subversive (i.e., promoting change and advocacy via non-
                                                                                                                     authors operationalized SMs as individuals who experienced              identified students). Regardless of approach, students and allied
                                                                                                                     “same-sex attraction” (SSA), on the grounds that “persons in            faculty made diversity a core focus of their efforts, which required
                                                                                                                     Christian colleges and universities who experience SSA but would        significant time and energy (often being stressful). Though some
                                                                                                                     not self-identify as gay, lesbian, bisexual” because of religious       NARAU faculty and staff were visibly supportive of SM students
                                                                                                                     conflict with these terms (Yarhouse et al., 2009, p. 99). Results       in McEntarfer’s study, other research portrays situations in which
                                                                                                                     indicated that students who experienced moderate levels of SSA          affirming faculty and staff are much less visible due to fears of job
                                                                                                                     experienced significantly more confusion about their sexual iden-       loss, career repercussions, or lack of training (Estanek, 1998; Getz
                                                                                                                     tity than those with a high degree of SSA. Furthermore, the attitude    & Kirkley, 2006).
                                                                                                                     toward one’s sexual orientation was moderated by level of SSA,             An important limitation of the above research is that much of the
                                                                                                                     such that students with high amounts of SSA and low amounts of          current data do not capture more recent student experiences. Social
                                                                                                                     “opposite sex attraction” were less likely to view same-sex rela-       attitudes toward LGBQ individuals and rights are rapidly shifting
                                                                                                                     tionships and attractions as negative. Another important finding        toward greater acceptance (Pew Research Center, 2015b). Evi-
                                                                                                                     was that among students who reported SSA, an overwhelming               dence of increasing social acceptance of LGBQ individuals can
                                                                                                                     majority (79%) still identified as heterosexual. The authors con-       even be found in traditionally nonaffirming faith communities,
                                                                                                                     cluded that the decision to identify as heterosexual “may be            though to a much lesser extent (Pew Research Center, 2015c).
                                                                                                                     associated with the influence of the campus culture, religious          Given the swiftly changing social trends toward LGBQ rights and
                                                                                                                     conviction, or personal choice, but it may also reflect a distinctive   the prevalence of nonaffirming faith communities in the United
                                                                                                                     of those seeking to develop an identity that engages both the           States, current research on the experiences of SM individuals who
                                                                                                                     religious and the sexual” (Stratton et al., p. 19).                     take part in religious higher education is needed.
                                                                                                                        Data have also explored policies and behavioral standards that
                                                                                                                     restrict LGBQ expressions and carry potential consequences at
                                                                                                                                                                                                                      Current Study
                                                                                                                     NARAUs. In a random sample of written student codes of conduct
                                                                                                                     at 20 member institutions of the Council for Christian Colleges and       No study to date (to the best of our knowledge) has attempted a
                                                                                                                     Universities (primarily Evangelical schools), Wolff and Himes           quantitative investigation of the mental health and psychological
                                                                                                                     (2010) found the following consequences for LGBQ “behavior”             functioning of SM students who attend NARAUs. Given the
                                                                                                                     (e.g., holding hands, kissing, or any other form of sexual expres-      unique environment and potential challenges that SM students can
                                                                                                                     sion): academic probation, mandatory psychological counseling,          experience in NARAUs, as well as increased media attention and




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                                                                                                                     student activism, this is an important and timely topic for further      18 years of age or older; and (d) lives in the United States. The
                                                                                                                     study. Our first aim was to assess the role of campus climate in         exact number of NARAUs represented is unknown because the
                                                                                                                     regard to sexual identity, outness, and mental health (Rankin et al.,    specific college attended was an optional question in the hope that
                                                                                                                     2010). SM individuals from nonaffirming faith communities may            participants would feel safer (and therefore be more honest) when
                                                                                                                     be more likely to experience rejection and harassment/bullying,          answering questions. Participants attended NARAUs from all parts
                                                                                                                     and have difficulty forming a Gay–Straight Alliance (GSA) on             of the U.S. The majority of participants identified as White (83%),
                                                                                                                     campus (Lockhart, 2013; McEntarfer, 2011). As a result, we               Christian (62%), undergraduates (78%), and identified as gay/
                                                                                                                     hypothesized:                                                            lesbian (56%). The mean age of the sample was 22.5 years (SD ⫽
                                                                                                                                                                                              4.5). The Other Non-Christian (12%) category of personal religion
                                                                                                                           Hypothesis 1: Sexual minority students who are not involved        included non-Christian faiths with less than 10 respondents (e.g.,
                                                                                                                           with a GSA and/or have been bullied at school will be less         Muslim, Jewish, Bahai’i). Mainline Protestant schools (14%) in-
                                                                                                                           open about their sexual orientation, have more negative views
                                                                                                                                                                                              cluded Lutheran, Presbyterian and Methodist. Other Christian
                                                                                                                           about their sexual orientation, experience more difficulty com-
                                                                                                                                                                                              schools (16%) included those that participants did not endorse any
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                                                                                                                           ing to terms with their sexual orientation, and experience
                                                                                                                                                                                              of the nominal categories we provided, wrote in their own re-
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                                                                                                                           greater psychological distress.
                                                                                                                                                                                              sponses, and had fewer than 10 responses (e.g., Church of Christ,
                                                                                                                        Data suggest that SM students are more likely to seek mental          Mennonite, and Quaker). We intentionally allowed individuals
                                                                                                                     health services and experience significantly higher amounts of           who were questioning (n ⫽ 11) their sexual orientation to partic-
                                                                                                                     depressive symptoms, social anxiety, and eating concerns than            ipate even if they did not identify as LGBQ, given that not all SMs
                                                                                                                     heterosexual peers (Effrig et al., 2014; McAleavey, Castonguay, &        use or feel comfortable with LGBQ labels (Yarhouse et al., 2009).
                                                                                                                     Locke, 2011). Other studies indicate greater associations between        We also decided to keep heterosexual-identified (n ⫽ 7) students
                                                                                                                     SM status and general psychopathology and academic concerns              in our analyses in light of data that some highly religious SMs still
                                                                                                                     (e.g., Woodford & Kulick, 2015). Hence, we hypothesized:                 identify as heterosexual because of potential stigma or congruence
                                                                                                                                                                                              with religious beliefs (Stratton et al., 2013), an inherent limitation
                                                                                                                           Hypothesis 2: Sexual minority students who attend NARAUs           in SM research (Hamblin & Gross, 2014). Demographics are
                                                                                                                           will report psychological distress as evidenced by clinically      reported in Table 1.
                                                                                                                           elevated (high) symptoms of depression, social anxiety, and
                                                                                                                           eating concerns, as well as moderately elevated symptoms of
                                                                                                                           substance abuse, hostility, academic distress, and generalized
                                                                                                                           anxiety.                                                           Table 1
                                                                                                                                                                                              Sample Demographics (N ⫽ 213)
                                                                                                                        Belonging to a nonaffirming religious faith may be a predictor
                                                                                                                     of mental health symptoms for SMs who experience dissonance                     Characteristic                                            n (%)
                                                                                                                     between their orientation/identity and religious beliefs, particularly
                                                                                                                                                                                              Gender
                                                                                                                     for Mormons (Grigoriou, 2014). Further, explicit evidence exists           Male                                                        91 (43)
                                                                                                                     that Evangelical NARAUs enforce consequences for SM relation-              Female                                                     109 (51)
                                                                                                                     ships and expression (Wolff & Himes, 2010). Furthermore, many              Transgender/other                                           12 (6)
                                                                                                                     SM students at NARAUs choose not to disclose their SM status or          Ethnicity
                                                                                                                                                                                                Latino/a                                                    18 (8)
                                                                                                                     outwardly identify as heterosexual (Stratton et al., 2013). How-           Caucasian                                                  177 (83)
                                                                                                                     ever, no study to date (to the best of our knowledge) has investi-         Black                                                        7 (3)
                                                                                                                     gated whether differences are found across different types of              Asian/Pacific Islander                                       1 (.5)
                                                                                                                     religious schools. As a result:                                            Other                                                       11 (.5)
                                                                                                                                                                                              Current religion
                                                                                                                           Hypothesis 3: Sexual minority students who identify as Chris-        Christian                                                  133 (62)
                                                                                                                                                                                                Agnostic                                                    27 (13)
                                                                                                                           tian or Mormon, or attend an Evangelical or Mormon NARAU             Atheist                                                     14 (7)
                                                                                                                           will have the most psychological distress, negative views            Mormon (LDS)                                                14 (7)
                                                                                                                           about their sexual orientation, difficulty coming to terms with      Other non-Christian                                         26 (12)
                                                                                                                           their sexual orientation, and be the least open about their        Class standing
                                                                                                                                                                                                Undergraduate                                              155 (72)
                                                                                                                           sexual orientation.
                                                                                                                                                                                                Grad Student                                                59 (28)
                                                                                                                                                                                              School religious affiliation
                                                                                                                                                   Method                                       Catholic                                                       60 (28)
                                                                                                                                                                                                Mainline Protestant                                            30 (14)
                                                                                                                                                                                                Evangelical                                                    28 (13)
                                                                                                                     Participants                                                               Non-denominational                                             43 (20)
                                                                                                                                                                                                Mormon (LDS)                                                   16 (8)
                                                                                                                        The sample consisted of 213 SM students currently enrolled in           Other Christian                                                35 (16)
                                                                                                                                                                                              Sexual orientation
                                                                                                                     various NARAUs. Eligibility criteria were as follows: (a) currently        Gay or lesbian                                             119 (56)
                                                                                                                     attends a religious college, university, or seminary that holds a          Heterosexual                                                 7 (3)
                                                                                                                     nonaffirming view of LGBQ topics and/or does not admit openly              Bisexual                                                    51 (24)
                                                                                                                     LGBQ students and/or prohibits expression of LGBQ identity; (b)            Questioning                                                 11 (5)
                                                                                                                                                                                                Other                                                       26 (12)
                                                                                                                     identifies as LGBQ and/or is questioning sexual orientation; (c) is




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                                                                                                                     Procedures                                                             yet also distinctness. Interitem correlations on the Out to College
                                                                                                                                                                                            subscale were all moderately positive, r ⫽ .335–.585, p ⬍ .001,
                                                                                                                        Data were collected online using a secure platform. Participants    and demonstrated acceptable internal consistency (Cronbach’s al-
                                                                                                                     were recruited through nonrandom purposive sampling techniques         pha ⫽ .732). The college subscale was not included in the Overall
                                                                                                                     via paid social media and newspaper advertisements, e-mailing          Outness composite score.
                                                                                                                     SM and religious organizations, professional list-serves and col-         Counseling Center Assessment of Psychological Symptoms
                                                                                                                     leagues, and contacting SM student groups at religious colleges.       (CCAPS). The CCAPS is standardized 62-item instrument that
                                                                                                                     This sampling method was similar to other studies that have            assesses mental health symptoms in college students (CCMH,
                                                                                                                     recruited often difficult to access SM individuals in nonaffirming     2015b). The instrument is widely used among students who are
                                                                                                                     environments (Grigoriou, 2014). We questioned whether or not to        obtaining services at college counseling centers (CCMH, 2015b;
                                                                                                                     approach NARAU administrators or staff directly to help with           McAleavey et al., 2012). The CCAPS has been widely validated,
                                                                                                                     recruitment, but were skeptical that we would receive their support    has a large standardization sample, and shows moderate to strong
                                                                                                                     given the potential for the results to portray NARAUs negatively,      concurrent validity with related measures: Beck Depression Inven-
                                                                                                                     or whether SM students would answer as openly knowing their
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                                                                                                                                                                                            tory & CCAPS Depression subscale, r ⫽ .82, Eating Attitudes
                                                                                                                     school had approved the study. Recruitment messages also stated
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                                                                                                                                                                                            Test-26 & Eating Concerns subscale, r ⫽ .58, Social Phobia
                                                                                                                     the opportunity to be entered into a drawing to win one of four        Diagnostic Questionnaire & Social Anxiety subscale, r ⫽ .75
                                                                                                                     small gift cards to increase participation. Participants completed     (McAleavey et al., 2012). Participants indicate how well various
                                                                                                                     the measures described below.                                          statements describe them during the past two weeks on a 0 – 4
                                                                                                                                                                                            Likert scale (e.g., 0 ⫽ not at all like me to 4 ⫽ extremely like me).
                                                                                                                     Measures
                                                                                                                                                                                            The CCAPS consists of several subscales that maintain strong
                                                                                                                        Lesbian, Gay and Bisexual Identity Scale (LGBIS). The               internal consistencies: (a) Depression (␣ ⫽ .91), (b) Social Anx-
                                                                                                                     LGBIS measures both internalized and externalized homonegativ-         iety (␣ ⫽ .84), and (c) Eating Concerns (␣ ⫽ .90), among others.
                                                                                                                     ity, and how these constructs affect LGB individuals’ sexual           These three subscales appear to be the most relevant to SM
                                                                                                                     identity formation (Mohr & Fassinger, 2000). Using a 7-point           students (Effrig et al., 2014; McAleavey, Castonguay, & Locke,
                                                                                                                     Likert scale, participants respond to questions about various LGB      2011). The CCAPS also contains a composite Distress Index, but
                                                                                                                     identity experiences by selecting from 1 (disagree strongly) to 7      this was not included due to strong overlap with the Depression
                                                                                                                     (agree strongly). The LGBIS consists of several subscales (e.g.,       subscale in our sample (r ⫽ .93).
                                                                                                                     Identity Confusion, Difficult Process, Need for Acceptance) and           The CCAPS provides numeric “cut points” which are helpful in
                                                                                                                     one composite score, “Negative Identity.” Participants completed       determining symptom severity (low, moderate, & high) and also
                                                                                                                     the entire LGBIS. However, we only included the Difficult Process      provide an estimate of whether individuals are most likely to
                                                                                                                     subscale (e.g., “admitting to myself that I’m an LGB person has        resemble a clinical (i.e., in treatment) or a nonclinical level of
                                                                                                                     been a very painful process”) and composite score in the results as    psychological distress (CCMH, 2015b, p. 14). Cut points were
                                                                                                                     these most pertained to our research hypotheses. For additional        validated by comparing college students in treatment, not in treat-
                                                                                                                     analysis, we created a “Religious Incongruence” subscale that          ment, and those in treatment who also met DSM–IV–TR diagnostic
                                                                                                                     included two items (“I’ll never be fully accepted by God if I’m in     criteria for more severe psychopathology (McAleavey et al.,
                                                                                                                     a same-sex relationship,” and “I can’t be true to my faith and be in   2012). Hence, individuals who surpass the cut points (whether
                                                                                                                     a same-sex relationship at the same time”). The subscale demon-        moderate or high) are more likely to be experiencing symptoms
                                                                                                                     strated a modest relationship with the Negative Identity composite     that are “potentially problematic” (p. 14).
                                                                                                                     scale, r ⫽ .420, p ⬍ .01, suggesting concurrent validity yet also         Experiential and demographic questions. We also collected
                                                                                                                     distinctness. The interitem correlation was moderate, r ⫽ .565,        data on a range of campus-related experiences and involvement
                                                                                                                     p ⬍ .001, and demonstrated acceptable internal consistency (Cron-      with a gay-straight alliance (GSA). Participants were asked to
                                                                                                                     bach’s alpha ⫽ .722). This subscale was not included in the            check whether each of the experiences listed had happened to them
                                                                                                                     composite score.                                                       or not, and to indicate GSA involvement (yes/no). These items are
                                                                                                                        Outness Inventory (OI). The OI focuses on degree of open-           presented in Table 2.
                                                                                                                     ness (“outness”) regarding one’s sexual orientation to family,
                                                                                                                     religious community (e.g., rabbi, priest), and employers (Mohr &       Statistical Analyses
                                                                                                                     Fassinger, 2000). The OI is based on the theoretical assumption
                                                                                                                     that LGB individuals will determine their level of outness depend-        To test the first hypotheses about campus experiences and
                                                                                                                     ing on how accepting they perceive others in their life to be          climate, GSA involvement and bullying because of sexual orien-
                                                                                                                     regarding sexual orientation topics. Using a 7-point Likert scale,
                                                                                                                     participants select their response from options ranging from 1 (the    Table 2
                                                                                                                     person definitely does NOT know about your sexual orientation          Student Experiences and Campus Climate (N ⫽ 213)
                                                                                                                     status) to 7 (the person definitely knows about your sexual orien-
                                                                                                                     tation status, and it is OPENLY talked about). The OI contains an                                 Experience                                  n (%)
                                                                                                                     “Overall Outness” composite score. For additional analysis, we         Involved with a Gay–Straight Alliance that is part of the school       95 (45)
                                                                                                                     created an “Out to College” subscale that included items relevant      Bullied or harassed at school because of sexual orientation            78 (37)
                                                                                                                     to roommate, professor/faculty, and classmate disclosure. The          Mental health professional attempted to change sexual
                                                                                                                     subscale demonstrated a modest relationship with the Overall             orientation                                                       36 (17)
                                                                                                                                                                                            Mental health professional affirmed LGB sexual orientation         101 (47)
                                                                                                                     Outness scale, r ⫽ .671, p ⬍ .001, suggesting concurrent validity




                                                                                                                           EXHIBIT J                                                                                                                           5
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                                                                                                                     206                                             WOLFF, HIMES, SOARES, AND MILLER KWON


                                                                                                                     tation were used as categorical (independent) variables, with de-




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Note. Higher scores on the LGBIS indicate a more negative view of one’s sexual identity. Higher scores on the OI indicate greater amount of openness about sexual orientation. Higher scores on
                                                                                                                                                                                                                                                                                                              F(␩2) ⫽ 18.03 (.09)ⴱⴱⴱ F(␩2) ⫽ 21.43 (.10)ⴱⴱⴱ F(␩2) ⫽ 5.05 (.03)ⴱ F(␩2) ⫽ 4.04 (.02) F(␩2) ⫽ 11.34 (.06) F(␩2) ⫽ 3.25 (.02) F(␩2) ⫽ 1.51 (.01) F(␩2) ⫽ 2.92 (.02)




                                                                                                                                                                                                                                                                                                                                                                                F(␩2) ⫽ 12.96 (.07) F(␩2) ⫽ 8.54 (.04) F(␩2) ⫽ 4.23 (.02)ⴱ F(␩2) ⫽ .10 (.00) F(␩2) ⫽ .15 (.00)
                                                                                                                     pendent variables consisting of subscales on the OI (Out to Col-




                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1.10 (.11)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1.36 (.10)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1.20 (.12)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1.26 (.09)
                                                                                                                                                                                                                                                                       concerns
                                                                                                                                                                                                                                                                        Eating
                                                                                                                     lege, Overall Outness), LGBIS (Negative Identity, Difficult
                                                                                                                     Process, Religious Incongruence), and the CCAPS (Depression,
                                                                                                                     Social Anxiety, Eating Concerns). Differences were analyzed us-
                                                                                                                     ing Factorial MANCOVA to control Type I error rates. We used
                                                                                                                     age of participant as a covariate on the first hypothesis only,
                                                                                                                     because older participants may have had more time to acquire




                                                                                                                                                                                                                                                                                                                                                                                                                                               1.78 (.12)
                                                                                                                                                                                                                                                                                                                                                                                                                                               1.97 (.10)




                                                                                                                                                                                                                                                                                                                                                                                                                                               1.90 (.12)
                                                                                                                                                                                                                                                                                                                                                                                                                                               1.85 (.09)
                                                                                                                                                                                                                                                                       anxiety
                                                                                                                     campus experiences (bullying, involvement with GSA). Means




                                                                                                                                                                                                                                                             CCAPS
                                                                                                                                                                                                                                                                       Social
                                                                                                                     and standard deviations for all of the CCAPS subscales were
                                                                                                                     calculated and compared with clinical cut points provided by the
                                                                                                                     CCAPS manual to test the second hypothesis using a descriptive
                                                                                                                     comparison. To test the third hypothesis, categorical differences in the
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                                                                                                                     dependent variables (Overall Outness, Out to College, Negative Iden-




                                                                                                                                                                                                                                                                             Depression
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                                                                                                                                                                                                                                                                                                                                                                                                                            1.35 (.11)
                                                                                                                                                                                                                                                                                                                                                                                                                            1.62 (.09)




                                                                                                                                                                                                                                                                                                                                                                                                                            1.63 (.11)
                                                                                                                                                                                                                                                                                                                                                                                                                            1.34 (.08)
                                                                                                                     tity, Religious Incongruence, Depression, Social Anxiety, and Eating
                                                                                                                     Concerns) were analyzed using one-way MANOVA with LSD post
                                                                                                                     hoc comparison for each of the independent variables (School Affil-
                                                                                                                     iation and Participant Religion). We ran two separate one-way
                                                                                                                     MANOVAs, rather than one Factorial MANOVA, because of inad-
                                                                                                                     equate sample sizes in some categories needed to test for interactions.




                                                                                                                                                                                                                                                                                                                                                                                                         4.81 (.21)
                                                                                                                                                                                                                                                                                                                                                                                                         3.89 (.17)




                                                                                                                                                                                                                                                                                                                                                                                                         4.74 (.21)
                                                                                                                                                                                                                                                                                                                                                                                                         3.96 (.16)
                                                                                                                                                                                                                                                                       collegea
                                                                                                                                                                                                                                                                        Out to
                                                                                                                                                    Results
                                                                                                                        To test the first hypothesis, categorical differences on the
                                                                                                                     CCAPS, LGBIS, and OI scales were analyzed by campus climate
                                                                                                                                                                                                                                                             OI
                                                                                                                     variables (involvement with a GSA and bullying because of sexual
                                                                                                                     orientation), while controlling for age as a covariate. Box’s Test of




                                                                                                                                                                                                                                                                                                                                                                                     4.05 (.17)
                                                                                                                                                                                                                                                                                                                                                                                     3.59 (.14)




                                                                                                                                                                                                                                                                                                                                                                                     4.21 (.18)
                                                                                                                                                                                                                                                                                                                                                                                     3.42 (.13)
                                                                                                                     Equality was significant, Box’s M ⫽ 149.16, p ⬍ .05, hence                                                                                        Overall
                                                                                                                                                                                                                                                                       outness
                                                                                                                     unequal variance was assumed using Pillai’s trace. Factorial
                                                                                                                     MANCOVA results revealed significant main effects for age,
                                                                                                                     trace ⫽ .127, F(8, 179) ⫽ 3.261, ␩2 ⫽ .127, p ⬍ .01, involvement
                                                                                                                     with a GSA, trace ⫽ .142, F(8, 179) ⫽ 3.711, ␩2 ⫽ .142, p ⬍ .001,
                                                                                                                     and bullying, trace ⫽ .138, F(8, 179) ⫽ 3.587, ␩2 ⫽ .138, p ⬍ .01.


                                                                                                                                                                                                                                                                                                                                                            F(␩2) ⫽ .35 (.00)
                                                                                                                                                                                                                                                                       incongruencea




                                                                                                                     An interaction was not significant for bullying ⫻ GSA involve-
                                                                                                                                                                                                                                                                                                                                                                 2.23 (.21)
                                                                                                                                                                                                                                                                                                                                                                 2.85 (.17)




                                                                                                                                                                                                                                                                                                                                                                 2.46 (.21)
                                                                                                                                                                                                                                                                                                                                                                 2.62 (.16)
                                                                                                                                                                                                                                                                         Religious




                                                                                                                     ment, trace ⫽ .039, F(8, 179) ⫽ .914, ␩2 ⫽ .039, p ⬎ .05.
                                                                                                                     Between-subjects ANCOVAs were calculated as follow-up to the
                                                                                                                     MANCOVA model. Marginal means, standard errors, F values,
                                                                                                                                                                                                Campus Variables: MANCOVA Model Results (Age as Covariate)




                                                                                                                     and effect sizes are presented in Table 3. The age covariate was
                                                                                                                     significant for Out to College, F(1, 191) ⫽ 19.392, ␩2 ⫽ .094, p ⬍
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Experimental subscales. Not included in the composite variables.
                                                                                                                     .001, and Overall Outness, F(1, 191) ⫽ 7.457, ␩2 ⫽ .039, p ⬍ .01,
                                                                                                                                                                                                                                                                                                                                     F(␩2) ⫽ .73 (.00)




                                                                                                                     suggesting that group differences are attributable to age on these
                                                                                                                                                                                                                                                                                                                                           3.52 (.12)
                                                                                                                                                                                                                                                                                                                                           4.27 (.10)




                                                                                                                                                                                                                                                                                                                                           3.83 (.13)
                                                                                                                                                                                                                                                                                                                                           3.97 (.09)
                                                                                                                                                                                                                                                                       Negative
                                                                                                                                                                                                                                                                       identity




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  the CCAPS indicate greater levels of psychological distress.
                                                                                                                                                                                                                                                             LGBIS




                                                                                                                     scales. Main effects in GSA involvement were found for the
                                                                                                                     Difficult Process, Negative Identity, and Religious Incongruence
                                                                                                                     subscales, indicating that students involved with a GSA had less
                                                                                                                     negative identities, less difficulty with their sexual orientation, and
                                                                                                                     less religious incongruence. A main effect for bullying was found
                                                                                                                     on the Depression subscale, such that students who were bullied
                                                                                                                                                                                                                                                                                                              F(␩2) ⫽ .67 (.00)




                                                                                                                     because of their sexual orientation at school reported higher levels
                                                                                                                                                                                                                                                                                                                    4.07 (.17)
                                                                                                                                                                                                                                                                                                                    5.00 (.14)




                                                                                                                                                                                                                                                                                                                    4.45 (.17)
                                                                                                                                                                                                                                                                                                                    4.62 (.13)
                                                                                                                                                                                                                                                                       Difficult
                                                                                                                                                                                                                                                                       process




                                                                                                                     of depressive symptoms.
                                                                                                                        To test the second hypothesis, sample means and standard
                                                                                                                     deviations were compared with clinical “cut points” established by
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    p ⬍ .05. ⴱⴱⴱ p ⬍ .001.




                                                                                                                     the CCAPS manual (CCMH, 2015b). All of the means surpassed
                                                                                                                     the cut point for “moderate” criteria, suggesting that our sample
                                                                                                                                                                                                                                                                                          Involved with GSA



                                                                                                                                                                                                                                                                                          Bullied or harassed




                                                                                                                     demonstrated a greater likelihood of potential clinical concerns.
                                                                                                                                                                                                                                                                                               at school due
                                                                                                                                                                                                                                                                       Composite or




                                                                                                                                                                                                                                                                                               orientation




                                                                                                                     None of the means surpassed the cut points for “high” clinical
                                                                                                                                                                                                                                                                                            Yes, M (SE)




                                                                                                                                                                                                                                                                                            Yes, M (SE)
                                                                                                                                                                                                                                                             Measure

                                                                                                                                                                                                                                                                         subscale




                                                                                                                                                                                                                                                                                            No, M (SE)




                                                                                                                                                                                                                                                                                            No, M (SE)
                                                                                                                                                                                                                                                                                               at school




                                                                                                                                                                                                                                                                                               to sexual




                                                                                                                     concerns. Results are summarized in Table 4.
                                                                                                                        Regarding the third hypothesis, categorical differences on the
                                                                                                                                                                                                Table 3




                                                                                                                     Depression, Social Anxiety, Eating Concerns, Negative Identity,
                                                                                                                     Difficult Process, Religious Incongruence, Overall Outness, and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ⴱ
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  a




                                                                                                                            EXHIBIT J                                                                                                                                                                                                                                                                                                                                                                                                                                                                            6
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                                                                                                                                                                               SEXUAL MINORITY STUDENTS                                                                                                                                                                                                                                                                                              207

                                                                                                                     Table 4




                                                                                                                                                                                                                                                                                                                      Note. Higher scores on the LGBIS indicate a more negative view of one’s sexual identity. Higher scores on the OI indicate greater amount of openness about sexual orientation. Higher scores on
                                                                                                                                                                                                                                                                                      F(␩2) ⫽ 1.54 (.04)
                                                                                                                                                                                                                                                                                      F(␩2) ⫽ .56 (.01)
                                                                                                                     CCAPS Risk & Severity Indicators




                                                                                                                                                                                                                                                                                          1.24 (.26)
                                                                                                                                                                                                                                                                                          1.27 (.20)




                                                                                                                                                                                                                                                                                            .98 (.17)
                                                                                                                                                                                                                                                                                            .88 (.27)




                                                                                                                                                                                                                                                                                          1.31 (.24)
                                                                                                                                                                                                                                                                                          1.31 (.20)




                                                                                                                                                                                                                                                                                          1.01 (.18)
                                                                                                                                                                                                                                                                                          1.28 (.16)
                                                                                                                                                                                                                                                                                          1.29 (.09)




                                                                                                                                                                                                                                                                                          1.35 (.13)
                                                                                                                                                                                                                                                                                          1.54 (.18)
                                                                                                                                                                                                                                                       concerns
                                                                                                                                                                                                                                                        Eating
                                                                                                                                                         Cut point
                                                                                                                          Subscale          M (SD)     classification   Clinical interpretation

                                                                                                                     Depression          1.48 (.93)     Moderate        Potentially problematic
                                                                                                                     Substance use        .77 (.86)     Moderate        Potentially problematic




                                                                                                                                                                                                                                                                                      F(␩ ) ⫽ 2.35 (.06)ⴱ
                                                                                                                                                                                                                                                                                      F(␩2) ⫽ .83 (.02)
                                                                                                                     Generalized anxiety 1.67 (1.00)    Moderate        Potentially problematic




                                                                                                                                                                                                                                                                                           2.19 (.26)
                                                                                                                                                                                                                                                                                           1.79 (.20)




                                                                                                                                                                                                                                                                                           1.49 (.16)
                                                                                                                                                                                                                                                                                           1.97 (.26)




                                                                                                                                                                                                                                                                                           2.23 (.23)
                                                                                                                                                                                                                                                                                           2.08 (.20)




                                                                                                                                                                                                                                                                                           1.87 (.16)
                                                                                                                                                                                                                                                                                           1.82 (.09)




                                                                                                                                                                                                                                                                                           1.91 (.13)
                                                                                                                                                                                                                                                                                           2.18 (.17)
                                                                                                                                                                                                                                                                                           1.72 (.18)
                                                                                                                     Social anxiety      1.88 (.95)     Moderate        Potentially problematic




                                                                                                                                                                                                                                                       anxiety
                                                                                                                                                                                                                                             CCAPS
                                                                                                                                                                                                                                                        Social
                                                                                                                     Eating concerns     1.26 (.95)     Moderate        Potentially problematic
                                                                                                                     Academic distress 1.54 (.97)       Moderate        Potentially problematic
                                                                                                                     Hostility           1.07 (.95)     Moderate        Potentially problematic




                                                                                                                                                                                                                                                                                         2
                                                                                                                     Family distress     1.62 (.99)     Moderate        Potentially problematic
                                                                                                                     Distress index      1.60 (.89)     Moderate        Potentially problematic




                                                                                                                                                                                                                                                                                      F(␩ ) ⫽ 2.36 (.06)ⴱ
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                                                                                                                                                                                                                                                                                      F(␩2) ⫽ .38 (.01)
                                                                                                                     Note. Means classified as Low, Moderate, or High per clinical cutoffs.




                                                                                                                                                                                                                                                              Depression




                                                                                                                                                                                                                                                                                           1.65 (.25)
                                                                                                                                                                                                                                                                                           1.60 (.20)




                                                                                                                                                                                                                                                                                           1.06 (.16)
                                                                                                                                                                                                                                                                                           1.47 (.26)




                                                                                                                                                                                                                                                                                           1.75 (.23)
                                                                                                                                                                                                                                                                                           1.40 (.20)




                                                                                                                                                                                                                                                                                           1.42 (.15)
                                                                                                                                                                                                                                                                                           1.44 (.09)




                                                                                                                                                                                                                                                                                           1.58 (.13)
                                                                                                                                                                                                                                                                                           1.74 (.17)
                                                                                                                                                                                                                                                                                           1.34 (.18)
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                                                                                                                     Scores in the Moderate or High category can be “potentially problematic”
                                                                                                                     (CCMH, 2015b).




                                                                                                                                                                                                                                                                                         2
                                                                                                                     Out to College scales were analyzed by school religious affiliation




                                                                                                                                                                                                                                                                                      F(␩2) ⫽ 1.49 (.03)




                                                                                                                                                                                                                                                                                      F(␩ ) ⫽ 1.12 (.03)
                                                                                                                     and participant religion. The independent variables were analyzed




                                                                                                                                                                                                                                                                                           3.43 (.49)
                                                                                                                                                                                                                                                                                           4.86 (.38)




                                                                                                                                                                                                                                                                                           4.20 (.32)
                                                                                                                                                                                                                                                                                           4.39 (.51)




                                                                                                                                                                                                                                                                                           3.80 (.46)
                                                                                                                                                                                                                                                                                           4.05 (.38)




                                                                                                                                                                                                                                                                                           4.39 (.35)
                                                                                                                                                                                                                                                                                           3.66 (.31)
                                                                                                                                                                                                                                                                                           4.14 (.16)




                                                                                                                                                                                                                                                                                           4.49 (.25)
                                                                                                                                                                                                                                                                                           4.20 (.34)
                                                                                                                                                                                                                                                       collegea
                                                                                                                     separately because we did not have sufficient sample sizes to test




                                                                                                                                                                                                                                                        Out to
                                                                                                                     for interactions. Box’s Test of Equality was significant, Box’s
                                                                                                                     M ⫽ 253.74, p ⬍ .05, hence unequal variance was assumed using




                                                                                                                                                                                                                                                                                         2
                                                                                                                     Pillai’s trace for school affiliation. Box’s Test of Equality was not

                                                                                                                                                                                                                                             OI
                                                                                                                     significant, Box’s M ⫽ 181.47, p ⫽ .44, hence equal variance was




                                                                                                                                                                                                                                                                                      F(␩2) ⫽ 1.62 (.03)




                                                                                                                                                                                                                                                                                      F(␩ ) ⫽ .74 (.02)
                                                                                                                     assumed using Wilk’s ⌳ criteria for participant religion.




                                                                                                                                                                                                                                                                                           3.33 (.39)
                                                                                                                                                                                                                                                                                           4.07 (.31)




                                                                                                                                                                                                                                                                                           3.74 (.26)
                                                                                                                                                                                                                                                                                           4.38 (.41)




                                                                                                                                                                                                                                                                                           3.58 (.37)
                                                                                                                                                                                                                                                                                           3.42 (.31)
                                                                                                                                                                                                                                                                                           3.59 (.14)




                                                                                                                                                                                                                                                                                           3.76 (.20)
                                                                                                                                                                                                                                                                                           3.61 (.28)
                                                                                                                                                                                                                                                                                           3.93 (.28)
                                                                                                                                                                                                                                                                                           3.28 (.25)
                                                                                                                                                                                                                                                       Overall
                                                                                                                                                                                                                                                       outness
                                                                                                                     MANOVA results revealed significant main effects for both par-
                                                                                                                     ticipant religion, Wilk’s ⌳ ⫽ .646, F(32, 680) ⫽ 2.669, ␩2 ⫽ .103,
                                                                                                                     p ⬍ .001 and school religious affiliation, trace ⫽ .422, F(40,




                                                                                                                                                                                                                                                                                         2
                                                                                                                     930) ⫽ 2.142, ␩2 ⫽ .084, p ⬍ .001.
                                                                                                                        Between-subjects ANOVAs were calculated as follow-up to the
                                                                                                                                                                                                                                                                                      F(␩2) ⫽ 8.15 (.15)ⴱⴱⴱ




                                                                                                                                                                                                                                                                                      F(␩ ) ⫽ 6.75 (.15)ⴱⴱⴱ
                                                                                                                     MANOVA model. Marginal means, standard errors, F values, and
                                                                                                                                                                                                                                                       incongruencea




                                                                                                                                                                                                                                                                                            4.89 (.43)
                                                                                                                                                                                                                                                                                            2.13 (.39)




                                                                                                                                                                                                                                                                                            2.36 (.29)
                                                                                                                                                                                                                                                                                            2.50 (.45)




                                                                                                                                                                                                                                                                                            4.75 (.41)
                                                                                                                                                                                                                                                                                            2.89 (.34)




                                                                                                                                                                                                                                                                                            2.23 (.31)
                                                                                                                                                                                                                                                                                            2.71 (.27)
                                                                                                                                                                                                                                                                                            2.39 (.15)




                                                                                                                                                                                                                                                                                            2.19 (.22)
                                                                                                                                                                                                                                                                                            2.66 (.30)
                                                                                                                                                                                                                                                         Religious




                                                                                                                     effect sizes are presented in Table 5.
                                                                                                                        For the School Affiliation variable, differences were significant
                                                                                                                     for Difficult Process, Negative Identity, Religious Incongruence,
                                                                                                                                                                                                                                                                                         2




                                                                                                                     Depression, and Social Anxiety, but not for Overall Outness,
                                                                                                                     Outness to College, or Eating Concerns. Post hoc analyses re-
                                                                                                                     vealed that SM students who attend Nondenominational, Evangel-
                                                                                                                                                                                                                                                                                      F(␩2) ⫽ 5.26 (.10)ⴱⴱⴱ




                                                                                                                                                                                                                                                                                      F(␩ ) ⫽ 3.09 (.08)ⴱ




                                                                                                                     ical, and Mormon NARAUs had significantly more difficult sexual
                                                                                                                                                                                                                                                                                            4.60 (.27)
                                                                                                                                                                                                                                                                                            3.37 (.21)




                                                                                                                                                                                                                                                                                            3.92 (.18)
                                                                                                                                                                                                                                                                                            3.66 (.28)




                                                                                                                                                                                                                                                                                            4.45 (.26)
                                                                                                                                                                                                                                                                                            3.59 (.21)




                                                                                                                                                                                                                                                                                            4.35 (.18)
                                                                                                                                                                                                                                                                                            4.15 (.09)




                                                                                                                                                                                                                                                                                            3.59 (.14)
                                                                                                                                                                                                                                                                                            4.01 (.19)
                                                                                                                                                                                                                                                                                            4.06 (.20)
                                                                                                                                                                                                                                                       Negative




                                                                                                                                                                                                                                                                                                                        Experimental subscales. Not included in the composite variables.
                                                                                                                                                                                                                                                       identity
                                                                                                                                                                                                                                             LGBIS




                                                                                                                     identity processes than students in Catholic and Mainline Protes-
                                                                                                                     tant schools. SM students attending Other Christian schools also
                                                                                                                                                                                                                                                                                                                      the CCAPS indicate greater levels of psychological distress.

                                                                                                                     had more difficult processes than those in Catholic NARAUs. SM
                                                                                                                                                                                                                                                                                         2




                                                                                                                     students in Nondenominational and Mormon NARAUs reported
                                                                                                                     more negative sexual identities than students in Catholic
                                                                                                                                                                                                  Religion Variables: MANOVA Model Results




                                                                                                                                                                                                                                                                                      F(␩2) ⫽ 6.52 (.12)ⴱⴱⴱ




                                                                                                                                                                                                                                                                                      F(␩ ) ⫽ 5.14 (.12)ⴱⴱⴱ




                                                                                                                     NARAUs. SM students who attend Mormon NARAUs endorsed
                                                                                                                     significantly higher levels of religious incongruence about their
                                                                                                                                                                                                                                                                                            3.56 (.28)
                                                                                                                                                                                                                                                                                            5.46 (.36)




                                                                                                                                                                                                                                                                                            4.64 (.24)
                                                                                                                                                                                                                                                                                            4.29 (.38)




                                                                                                                                                                                                                                                                                            5.28 (.34)
                                                                                                                                                                                                                                                                                            4.22 (.28)




                                                                                                                                                                                                                                                                                            5.22 (.23)
                                                                                                                                                                                                                                                                                            4.26 (.25)
                                                                                                                                                                                                                                                                                            5.06 (.26)
                                                                                                                                                                                                                                                                                            4.86 (.12)




                                                                                                                                                                                                                                                                                            4.03 (.19)
                                                                                                                                                                                                                                                       Difficult
                                                                                                                                                                                                                                                       process




                                                                                                                     sexual orientation than students who attended all other types of
                                                                                                                     NARAUs. Students who attended Other Christian programs re-
                                                                                                                     ported significantly fewer symptoms of depression and social
                                                                                                                                                                                                                                                                                         2




                                                                                                                     anxiety than students at Catholic, Mainline Protestant, and Mor-
                                                                                                                     mon NARAUs.
                                                                                                                                                                                                                                                                                        Non-denominational, M (SE)
                                                                                                                                                                                                                                                                                        Other non-Christian, M (SE)


                                                                                                                                                                                                                                                                                        Mainline Protestant, M (SE)




                                                                                                                                                                                                                                                                                                                        p ⬍ .05. ⴱⴱⴱ p ⬍ .001.




                                                                                                                        For the Participant Religion variable, between-subjects ANOVA
                                                                                                                                                                                                                                                              Composite or subscale




                                                                                                                                                                                                                                                                                        Mormon (LDS), M (SE)




                                                                                                                                                                                                                                                                                        Mormon (LDS), M (SE)
                                                                                                                                                                                                                                                                                        Other Christian, M (SE)




                                                                                                                     revealed that differences were significant for the Difficult Process,
                                                                                                                                                                                                                                                                                        Evangelical, M (SE)




                                                                                                                     Negative Identity, and Religious Incongruence scales, but not the
                                                                                                                                                                                                                                             Measure




                                                                                                                                                                                                                                                                                        Christian, M (SE)
                                                                                                                                                                                                                                                                                        Agnostic, M (SE)




                                                                                                                                                                                                                                                                                        Catholic, M (SE)
                                                                                                                                                                                                                                                                                      Participant religion


                                                                                                                                                                                                                                                                                        Atheist, M (SE)




                                                                                                                     other variables. Post hoc analyses revealed that Mormon students
                                                                                                                                                                                                                                                                                      School affiliation




                                                                                                                     reported a more difficult process and negative sexual identity than
                                                                                                                     students who identified as Atheist, Agnostic, or Other Non-
                                                                                                                                                                                                  Table 5




                                                                                                                     Christian. Likewise, Christian students reported a more difficult
                                                                                                                     process and negative sexual identity than Agnostic and Other
                                                                                                                                                                                                                                                                                                                      ⴱ
                                                                                                                                                                                                                                                                                                                      a




                                                                                                                            EXHIBIT J                                                                                                                                                                                                                                                                               7
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                                                                                                                     Non-Christians. Finally, Mormon SM students endorsed signifi-              these subscales could not be a clinically significant concern. Yet for
                                                                                                                     cantly higher levels of religious incongruence about their sexual          our sample as a whole, these symptoms did not rise to the diagnostic
                                                                                                                     orientation than all of the other groups.                                  threshold for serious psychiatric pathology. We did not assess for
                                                                                                                        Supplementary frequency data was collected on the experimen-            whether participants were currently in counseling services, though it
                                                                                                                     tal OI “Out to College” subscale. 54% of SM students reported that         would not be surprising if many were because there is evidence that
                                                                                                                     they have talked about their sexual orientation with a professor or        SMs seek out counseling services at higher rates than their hetero-
                                                                                                                     faculty member at least once, 51% have talked about their sexual           sexual peers (McAleavey, Castonguay, & Locke, 2011). A self-
                                                                                                                     orientation with a classmate or peer at least one time, and 69% of         selection bias could have existed in that SM adults experiencing
                                                                                                                     students who have a roommate have talked about their sexual                distress may have been more interested and willing to participate in a
                                                                                                                     orientation with their roommate at least once (more than half              study that asked them about those experiences that are associated with
                                                                                                                     report that they talk about it openly with their roommate).                distress (Grasser, 2014).
                                                                                                                                                                                                    With regard to mental health symptoms, our third hypotheses
                                                                                                                                                                                                was partially supported for Mormons, but not Evangelicals. Stu-
                                                                                                                                                  Discussion
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                                                                                                                                                                                                dents who attended Other Christian schools reported significantly
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                                                                                                                        Our findings present a complex picture of SM student experi-            fewer symptoms of depression and social anxiety than students at
                                                                                                                     ences, sexual identity, outness, and psychological functioning at          Catholic, Mainline Protestant, and Mormon NARAUs. We did not
                                                                                                                     NARAUs in the United States. We stress that NARAUs are a very              find any significant differences for personal religion on any of the
                                                                                                                     diverse group of institutions, and therefore conclusions and results       CCAPS subscales. This is a difficult finding to interpret, given the
                                                                                                                     may not apply to all NARAUs.                                               range of Other Christian affiliations reported (e.g., Mennonite,
                                                                                                                        Our first hypothesis was partially supported in that SM student         Quaker, and Church of God). A possible explanation for why
                                                                                                                     involvement with a GSA on campus was associated with a more                Evangelical students did not report more depressive symptoms and
                                                                                                                     positive view of their sexual identity, less religious incongruence,       social anxiety than those in other schools could be that students
                                                                                                                     and less difficulty with their sexual orientation than students not        who find nonaffirming theological positions and environments
                                                                                                                     involved with a GSA. This finding is not surprising considering            congruent with their religious beliefs would likely not be dis-
                                                                                                                     students who know other SM students would have less stigma or              tressed by them (e.g., a student who believes being gay is sinful
                                                                                                                     shame about their sexual orientation if they know they are not             would not be distressed by a school code of conduct that supports
                                                                                                                     alone, have a place to discuss concerns, and form peer relation-           this position). Also, religion may offer a substantial amount of
                                                                                                                     ships. Another consideration is that NARAUs who allowed a GSA              comfort and source of community to many SM individuals who
                                                                                                                     to form on campus may already be more welcoming (or at least               find incongruence with their sexual orientation and their faith
                                                                                                                     less restrictive) campuses to SMs, hence these results may be              (Yarhouse et al., 2009).
                                                                                                                     explained by the campus climate rather than the involvement with               With regard to sexual identity and religious incongruence, our
                                                                                                                     a GSA. A possible limitation is selection bias, in which students          hypothesis was largely supported for Mormons, but only partially
                                                                                                                     who join GSA’s may already be more socially adept, have less               for Evangelicals. Results indicated that SM students who attend
                                                                                                                     stigma about their sexual orientation, and perhaps have greater            Nondenominational, Evangelical, and Mormon NARAUs had sig-
                                                                                                                     baseline wellbeing.                                                        nificantly more difficult sexual identity processes than students in
                                                                                                                        With regard to bullying, our hypothesis was again partially             Catholic and Mainline Protestant schools, and that SM students
                                                                                                                     supported in that students who were bullied at school because of           attending Other Christian schools had more difficult processes
                                                                                                                     their sexual orientation reported more symptoms of depression.             than those in Catholic NARAUs. SM students in Nondenomina-
                                                                                                                     Contrary to our expectations, no differences were found on the             tional and Mormon NARAUs reported more negative sexual iden-
                                                                                                                     other variables (social anxiety, negative identity, and outness).          tities than students in Catholic NARAUs. Though we did not
                                                                                                                     Rankin et al.’s 2010 national survey of LGBTQ college students             ascertain the exact theological positions of all of the nondenomi-
                                                                                                                     found that 23% of LGBTQ students experienced bullying or ha-               national schools, it is likely that many of these programs strongly
                                                                                                                     rassment on campus, whereas this was even higher among our                 resemble Evangelical Christian programs. For example, three of
                                                                                                                     sample (37%). A possible explanation is that stigma associated             the most well-known Evangelical colleges in the U.S. (Wheaton
                                                                                                                     with reporting sexual orientation harassment, as well as lack of           College, Biola University, & Regent University) could be consid-
                                                                                                                     clear protections for SM students, contribute to this discrepancy at       ered nondenominational because they are not affiliated with a
                                                                                                                     NARAUs, a finding consistent with another study at a Catholic              specific church. Parallel results indicated that both Mormon and
                                                                                                                     NARAU (Lockhart, 2013). As a result, it is likely that more                Christian students reported a more difficult process and negative
                                                                                                                     harassment and bullying of SM students occur at NARAUs, a                  sexual identity than students who identified as Agnostic or Other
                                                                                                                     finding which warrants both concern and further study.                     Non-Christian. These results are consistent with past research in
                                                                                                                        Our second hypothesis aimed to understand whether our SM sam-           that Protestants (including Evangelicals) and Catholic LGB adults
                                                                                                                     ple demonstrated potential clinical concerns on a range of mental          report more conflict about their sexual orientation than those who
                                                                                                                     health indicators; this portion of the hypothesis was supported. All of    are Jewish, Atheist, or Agnostic (Schuck & Liddle, 2001).
                                                                                                                     the subscales on the CCAPS were above the “moderate” cut point,                Our results appear to cast Catholic schools in a different light in
                                                                                                                     suggesting that SM students in our sample who attend NARAUs are            comparison with most of the other schools with regard to SM iden-
                                                                                                                     at-risk for potentially significant concerns that could become the focus   tities and difficulty with one’s sexual orientation. We theorize that
                                                                                                                     of clinical attention. However, our hypothesis that students would         Catholic schools are different from many of the other NARAUs we
                                                                                                                     have elevated (“high”) scores on the Depression, Social Anxiety, and       assessed because, although Church doctrine may officially condemn
                                                                                                                     Eating Concerns subscales was not supported. This is not to say that       LGB relationships, we did not find evidence that they explicitly ban




                                                                                                                            EXHIBIT J                                                                                                                         8
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                                                                                                                                                                             SEXUAL MINORITY STUDENTS                                                            209

                                                                                                                     SM students from forming same-sex relationships or attending their        sexual orientation at school. Rankin and colleagues’ 2010 Campus
                                                                                                                     schools, unlike many Evangelical, Nondenominational, and Mormon           Pride report lays a comprehensive framework for best practices to
                                                                                                                     schools (Biaggio, 2014; Lyon, 2007; Wolff & Himes, 2010). Further-        improve campus climate for SM students, which could in turn reduce
                                                                                                                     more, without such a ban in place, more Catholic schools may allow        bullying and harassment on campus. Steps include: (a) developing
                                                                                                                     GSAs and other SM-themed activities on campus than more restric-          LGBTQ inclusive policies; (b) demonstrating institutional commit-
                                                                                                                     tive NARAUs. However, data about the exact policies at each school        ment to LGBTQ diversity; (c) integrating LGBTQ topics and con-
                                                                                                                     were not collected. Further, a selection bias is again possible in that   cerns into curricular and cocurricular education; (d) responding ap-
                                                                                                                     SM students may choose to attend a school that is less restrictive,       propriately to anti-LGBTQ harassment, violence, and other incidents;
                                                                                                                     hence potentially inflating baseline wellbeing or openness.               (e) creating “brave spaces” for student dialogue on-campus, especially
                                                                                                                        A somewhat surprising result was that students who identified as       in dormitories (p. 16); (f) offering comprehensive, culturally appro-
                                                                                                                     Mormon/LDS or attend Mormon schools were more likely to report            priate medical and mental health services; and (g) improving recruit-
                                                                                                                     incongruence between their sexual orientation and religious faith than    ment and retention efforts of LGBTQ students. We recognize that
                                                                                                                     all of the other groups. Hence, Mormon students and college envi-         several of these recommendations are more difficult to implement
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                                                                                                                     ronments appear to be unique. This finding may be important to            than others, though this does not excuse lack of effort to safeguard SM
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                                                                                                                     understand in terms of the LDS church’s stance on SM issues. For          students.
                                                                                                                     instance, sexual activity between members of the same-sex is grounds         Wolff and Himes (2010) note that NARAUs can improve cam-
                                                                                                                     for excommunication within the LDS church, a serious consequence          pus climate for SM students in manners that are consistent with
                                                                                                                     (Grigoriou, 2014). Excommunication involves no longer having              their institutional religious values. For example, most NARAUs
                                                                                                                     church membership, ostracism from loved ones, and the belief that the     have mission statements that strive for virtues such as love, grace,
                                                                                                                     excommunicated individual will be separated from God and family           or compassion (e.g., “love thy neighbor”). Furthermore, many
                                                                                                                     members for eternity (Public Broadcasting System, April, 2007). As        NARAUs pride themselves on creating campus climates that allow
                                                                                                                     such, Mormon students may hold to nonaffirming religious beliefs in       for spiritual growth through fellowship and community with oth-
                                                                                                                     especially strong ways in light of severe consequences for violating      ers. This is a unique and important strength NARAUs possess that
                                                                                                                     strict heteronormative rules. Our findings should be interpreted with     could be further enhanced to support SM students who wish to
                                                                                                                     caution as we did not have many Mormon participants (n ⫽ 16).             openly discuss their sexual orientation with others. Of note, some
                                                                                                                     However, a much larger study of 634 Mormons supports these con-           Evangelical NARAUs campuses have taken small but important
                                                                                                                     clusions; recent data indicate that sexual identity confusion is corre-   strides to better support this kind of dialogue. For example, Biola
                                                                                                                     lated with symptoms of depression for SM Mormons, and greater             University (2014) held an event featuring a gay speaker whose
                                                                                                                     involvement with the LDS church is associated with increased mi-          views did not align with the university’s official theological posi-
                                                                                                                     nority stress for SMs (Crowell, Galliher, Dehlin, & Bradshaw, 2015).      tion. Given that our results point to higher religious incongruence
                                                                                                                        Contrary to our third hypothesis, we did not find any differences in   and difficult processes among Mormon students, similar dialogue
                                                                                                                     students’ outness about their sexual orientation across participants’     could be helpful at Mormon/LDS schools if it were to feature
                                                                                                                     religion or school affiliations. We question whether an individual’s      differing perspectives of LGBQ Mormons.
                                                                                                                     perception of openness may be meditated by the presence of having            Some NARAUs have made other systemic changes to make
                                                                                                                     a few individuals they could talk to openly about their orientation       campus environments much more welcoming to SM students.
                                                                                                                     regardless of the actual campus environment. This may be supported        Steps include adding sexual orientation as a protected class to
                                                                                                                     by our frequency data; more than half of our sample reported having       antiharassment policies, starting focus groups on campus, and
                                                                                                                     talked to a faculty member or classmate about their sexual orientation,   providing administrative support for educational programs and
                                                                                                                     whereas more than two thirds have talked to a roommate. Given the         staff training on LGBTQ topics (Getz & Kirkley, 2006). Limited
                                                                                                                     stigma surrounding LGBQ topics on many campuses, it seems rea-            outcome data exist on the benefits of such programming, but
                                                                                                                     sonable to assume that SM students would not disclose such infor-         suggest increased awareness of social and cultural identity for all
                                                                                                                     mation unless they felt comfortable sharing it, hence pointing to the     students, improved confidence among faculty/staff/students to be
                                                                                                                     likelihood of supportive faculty members, peers, and roommates.           resources for SM students, and greater sensitivity and compassion
                                                                                                                     However, we did not assess the individual’s reactions to their disclo-    toward SM individuals across the campus community (Getz &
                                                                                                                     sures, and the possibility exists that such disclosures may have been     Kirkley, 2006). Also, a study of primarily heterosexual Evangel-
                                                                                                                     more harmful than helpful if the person reacted in a negative or          ical Christian college students found that when students know
                                                                                                                     rejecting manner.                                                         someone who is LGB, they have significantly less negative atti-
                                                                                                                                                                                               tudes toward LGB persons (Wolff, Himes, Miller Kwon, & Bol-
                                                                                                                     Helping Sexual Minority Students on                                       linger, 2012). Therefore, having open, nonjudgmental, and nonpu-
                                                                                                                                                                                               nitive dialogue on campus is likely to have many benefits to
                                                                                                                     Religious Campuses
                                                                                                                                                                                               students, faculty, staff, and positively affect campus climates.
                                                                                                                        Our results indicate that involvement with a school GSA was            Findings from Eisenberg (2002) on condom use among LGB
                                                                                                                     associated with less negative perceptions of sexual identity, less        students on college campuses may have useful parallels to these
                                                                                                                     difficulty with one’s sexual orientation, and less religious incongru-    implications. The study found that the more LGB resources on
                                                                                                                     ence. As such, allowing students to form GSAs would appear to have        campus (e.g., having a LGB student group, staff who were imple-
                                                                                                                     potential benefits. However, this could have potential drawbacks in       menting LGB diversity, etc.), the more likely sexually active LGB
                                                                                                                     NARAUs as well, given that school administrators may wish to              students were to use condoms. Such results are important in that
                                                                                                                     control or monitor content, membership, and so forth. Furthermore,        improving campus climate for SM students as a whole may have
                                                                                                                     more than a third of students reported being bullied because of their     many other benefits in addition to mental health.




                                                                                                                            EXHIBIT J                                                                                                                        9
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                                                                                                                     Implications for College Counseling Centers                            central to their campus identity and mission. Efforts aimed at
                                                                                                                                                                                            helping SM students who attend such institutions are no easy task.
                                                                                                                        Findings revealed that nearly a fifth of students (17%) have had
                                                                                                                                                                                            Greater dialogue about sexual orientation issues and development,
                                                                                                                     a mental health professional attempt to change their sexual orien-
                                                                                                                                                                                            sensitivity toward diverse populations, compassion and care for
                                                                                                                     tation, a process referred to as reparative/conversion therapy or
                                                                                                                                                                                            SM students, and the use of data to guide interventions may be
                                                                                                                     sexual orientation change efforts (SOCEs). Of note, we did not
                                                                                                                                                                                            important steps in promoting campus climates that can be wel-
                                                                                                                     assess whether SOCEs occurred on-campus or with an outside
                                                                                                                                                                                            coming to SM students at NARAUs.
                                                                                                                     provider. However, it seems reasonable to infer that a sizable
                                                                                                                     portion of these respondents have received such services at a
                                                                                                                     university/college counseling center given their ease of access and                                   References
                                                                                                                     affordability, or been referred off-campus if these services were
                                                                                                                     not available on-campus.                                               American Psychiatric Association. (2013). Position statement on issues
                                                                                                                        These findings raise significant concerns. In 2009, a task force      related to homosexuality. Washington, DC: Author.
                                                                                                                     of the American Psychological Association concluded that “efforts      American Psychological Association Task Force on Appropriate Thera-
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                                                                                                                                                                                              peutic Responses to Sexual Orientation. (2009). Report of the Task
                                                                                                                     to change sexual orientation are unlikely to be successful and
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                                                                                                                                                                                              Force on Appropriate Therapeutic Responses to Sexual Orientation.
                                                                                                                     involve some risk of harm” and are most likely to be sought out by
                                                                                                                                                                                              Washington, DC: American Psychological Association.
                                                                                                                     those who are “strongly religious” (American Psychological As-         Barnes, D. M., & Meyer, I. H. (2012). Religious affiliation, internalized
                                                                                                                     sociation Task Force on Appropriate Therapeutic Responses to             homophobia, and mental health in lesbians, gay men, and bisexuals.
                                                                                                                     Sexual Orientation, 2009, p. v). Furthermore, the American Psy-          American Journal of Orthopsychiatry, 82, 505–515. http://dx.doi.org/10
                                                                                                                     chiatric Association declared that SOCEs “represent a significant        .1111/j.1939-0025.2012.01185.x
                                                                                                                     risk of harm by subjecting individuals to forms of treatment which     Biaggio, M. (2014). Do some APA-accredited programs undermine train-
                                                                                                                     have not been scientifically validated and by undermining self-          ing to serve clients of diverse sexual orientations? Psychology of Sexual
                                                                                                                     esteem when sexual orientation fails to change” (American Psy-           Orientation and Gender Diversity, 1, 93–95. http://dx.doi.org/10.1037/
                                                                                                                     chological Association, 2013). Some SM students, particularly            sgd0000027
                                                                                                                     those who experience strong dissonance between their sexual            Biola University. (2014). Biola events: How do we love? A thoughtful
                                                                                                                     orientation and religious beliefs, may come to counseling with the       dialogue on sexual differences. Retrieved February 5, 2015, from http://
                                                                                                                     stated desire for SOCE. As a result, significant staff training is       now.biola.edu/events/2014/Oct/07/how-do-we-love-thoughtful-dialogue-
                                                                                                                     needed in models of psychotherapy which are exceptionally fo-            sexual-differen/
                                                                                                                                                                                            Bradshaw, K., Dehlin, J. P., Crowell, K. A., Galliher, R. V., & Bradshaw,
                                                                                                                     cused on encouraging self-determination, sensitive to religion/
                                                                                                                                                                                              W. S. (2015). Sexual orientation change efforts through psychotherapy
                                                                                                                     spirituality, embrace a developmental view of sexual and gender
                                                                                                                                                                                              for LGBQ individuals affiliated with the Church of Jesus Christ of
                                                                                                                     identity, and have safeguards to protect students from therapist         Latter-day Saints. Journal of Sex & Marital Therapy, 41, 391– 412.
                                                                                                                     bias and potentially harmful practices.                                  http://dx.doi.org/10.1080/0092623X.2014.915907
                                                                                                                                                                                            Center for Collegiate Mental Health [CCMH]. (2015a). 2014 annual re-
                                                                                                                                                                                              port. University Park, PA: Author.
                                                                                                                     Limitations & Future Directions                                        Center for Collegiate Mental Health [CCMH]. (2015b). CCAPS user
                                                                                                                        External validity may be limited by the nonrandom purposive           manual. University Park, PA: Author.
                                                                                                                     sampling approach and relatively small sample, though a range of       Crowell, K. A., Galliher, R. V., Dehlin, J., & Bradshaw, W. S. (2015).
                                                                                                                                                                                              Specific aspects of minority stress associated with depression among
                                                                                                                     NARAUs were included. Another limitation of this study was the
                                                                                                                                                                                              LDS affiliated non-heterosexual adults. Journal of Homosexuality, 62,
                                                                                                                     small number of racial/ethnic minority participants, as well as
                                                                                                                                                                                              242–267. http://dx.doi.org/10.1080/00918369.2014.969611
                                                                                                                     those from non-Christian religious traditions. However, NARAUs         Donadio, R. (2013, July 29). On gay priests, Pope Francis Asks, ‘Who am
                                                                                                                     are overwhelmingly Christian in the United States. We used stan-         I to judge?’ The New York Times. Retrieved April 24, 2014, from
                                                                                                                     dardized inventories and questions focused on sexual minorities.         http://www.nytimes.com/2013/07/30/world/europe/pope-francis-
                                                                                                                     As such, our results cannot be generalized to gender minority            gay-priests.html?pagewanted⫽all
                                                                                                                     students. Another limitation is that we relied solely on participant   Eckholm, E. (2011, April 18). Even on religious campuses, students fight
                                                                                                                     responses and perceptions, and did not collect parallel objective        for gay identity. The New York Times. Retrieved April 24, 2014, from
                                                                                                                     campus climate data (e.g., reviewing the school’s nondiscrimina-         http://www.nytimes.com/2011/04/19/us/19gays.html
                                                                                                                     tion policy). Hence, we were not able to analyze the potential         Effrig, J. C., Maloch, J. K., McAleavey, A., Locke, B. D., & Bieschke, K. J.
                                                                                                                     impact of community-level determinants on mental health inde-            (2014). Change in depressive symptoms among treatment-seeking college
                                                                                                                     pendently. Also, we did not collect a representative sample of           students who are sexual minorities. Journal of College Counseling, 17,
                                                                                                                     heterosexual NARAU students or SMs who attend nonreligious               271–285. http://dx.doi.org/10.1002/j.2161-1882.2014.00063.x
                                                                                                                     schools, which could have served as a comparison group. A              Eisenberg, M. E. (2002). The association of campus resources for gay,
                                                                                                                                                                                              lesbian, and bisexual students with college students’ condom use. Jour-
                                                                                                                     qualitative study would likely provide very rich, valuable data to
                                                                                                                                                                                              nal of American College Health, 51, 109 –116. http://dx.doi.org/10.1080/
                                                                                                                     supplement this study’s quantitative results.
                                                                                                                                                                                              07448480209596338
                                                                                                                                                                                            Estanek, S. M. (1998). Working with gay and lesbian students at Catholic
                                                                                                                     Conclusion                                                               colleges and universities: A student affairs perspective. Catholic Edu-
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